
659 S.E.2d 739 (2008)
Gary P. RAMSEY
v.
N.C. DIVISION OF MOTOR VEHICLES.
No. 412P07.
Supreme Court of North Carolina.
March 6, 2008.
Neil Dalton, Special Deputy Attorney General, for State of NC.
W. Scott Jones, Robert B. Long, Asheville, for Ramsey.
Prior report: ___ N.C.App. ___, 647 S.E.2d 125.

ORDER
Upon consideration of the petition filed on the 21st day of August 2007 by Respondent in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
